                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                           Case No. 18-00293-02-CR-W-DGK

 TREVOR SCOTT SPARKS, (02),

                                Defendant.


                       GOVERNMENT’S AMENDED WITNESS LIST

       The United States of America by the undersigned counsel hereby files the following list of

witnesses, which the Government may call at trial. The Government reserves the right to amend

or supplement this witness list before and during trial.


   1. U.S. v. Ginnings, et al. Cooperating Defendant #2, VA
      Contact through the United States Attorney’s Office

   2. U.S. v. Bailey, et al. Cooperating Defendant #17, TB
      Contact through the United States Attorney’s Office

   3. Sergeant Aaron Benson
      Kansas City, Missouri Police Department

   4. Cooperating Witness II, RB
      Contact through the United States Attorney’s Office

   5. Special Agent Joel D. Bingaman
      Federal Bureau of Investigation – St. Louis Field Office

   6. Sergeant Doug Blodgett
      Jackson County, Missouri Sheriff’s Department




         Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 1 of 8
7. Cooperating Witness G, SB
   Contact through the United States Attorney’s Office

8. Officer Paul Brooks
   Grandview, MO Police Department

9. Detective Edward Caballero
   Kansas City, Missouri Police Department

10. Coroner Dr. R. Chandra
    Lafayette County, MO

11. Cooperating Witness PP, DC
    Contact through the United States Attorney’s Office

12. Cooperating Witness AA, MC
    Contact through the United States Attorney’s Office

13. U.S. v. Bailey, et al. Cooperating Defendant #21, AC
    Contact through the United States Attorney’s Office

14. Special Agent Ryan Cornelius
    Federal Bureau of Investigation – Kansas City, MO Field Office

15. Daniel Croney
    St. Louis, Missouri

16. Officer Dustin Davis
    St. James, Missouri Police Department

17. Special Agent William J. Dorsey
    Federal Bureau of Investigation – St. Louis, MO Field Office

18. Cooperating Witness Q, MF
    Contact through the United States Attorney’s Office

19. U.S. v. Bailey, et al. Cooperating Defendant #20, DF
    Contact through the United States Attorney’s Office

20. Cooperating Witness J, KG
    Contact through the United States Attorney’s Office

21. Cooperating Witness D, JG
    Contact through the United States Attorney’s Office




     Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 2 of 8
22. Kirk Harding
    605 SW 15th Terrace
    Lee’s Summit, MO 64081

23. Cooperating Witness L, JH
    Contact through the United States Attorney’s Office

24. Cooperating Witness S, SH
    Contact through the United States Attorney’s Office

25. U.S. v. Bailey, et al. Cooperating Defendant #22, MH
    Contract through the United States Attorney’s Office

26. Detective Adam Hill
    Kansas City, Missouri Police Department

27. Detective Cory Horalek
    Kansas City, Missouri Police Department

28. Officer Roger Jarrett
    St. James, Missouri Police Department

29. Officer Trenton Johns
    Kansas City, Missouri Police Department

30. U.S. v. Ginnings, et al. Cooperating Defendant #1, GJ
    Contact through the United States Attorney’s Office

31. Sarah Jones
    Forensic Specialist - DNA
    Kansas City, Missouri Crime Lab

32. Special Agent Ellen Judy
    Federal Bureau of Investigation – Kansas City, MO Field Office

33. U.S. v. Ginnings, et al. Cooperating Defendant #28, PK
    Contact through the United States Attorney’s Office

34. U.S. v. Ginnings, et al. Cooperating Defendant #9, BK
    Contact through the United States Attorney’s Office




     Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 3 of 8
35. Dr. Alexandra R. Klales
    Washburn University
    1700 SW College Avenue
    Topeka, KS 66621

36. U.S. v. Bailey, et al. Cooperating Defendant #18, JL
    Contact through the United States Attorney’s Office

37. Deputy Kenneth Lewie
    Lafayette County, Missouri Sheriff’s Office

38. U.S. v. Ginnings, et al. Cooperating Defendant #7, AM
    Contact through the United States Attorney’s Office

39. Adam Mallory
    Formerly Sni Valley Fire Fighter
    1600 S. Broadway
    Oak Grove, MO 64075

40. Trooper M.T. Manley
    Missouri State Highway Patrol

41. Metro PCS Manager
    2605 Independence Avenue
    Kansas City, MO 64124

42. Special Agent Trisha McCormick
    Federal Bureau of Investigation – Kansas City, Missouri Field Office

43. U.S. v. Ginnings, et al. Cooperating Defendant #11, KM
    Contact through the United States Attorney’s Office

44. U.S. v. Ginnings, et al. Cooperating Defendant #12, MM
    Contact through the United States Attorney’s Office

45. Cooperating Witness C, RM
    Contact through the United States Attorney’s Office

46. Corporal Franklin McDevitt
    Raytown, Missouri Police Department

47. Cooperating Witness B, RM
    Contact through the United States Attorney’s Office




     Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 4 of 8
48. Special Agent Robert Millier
    Bureau of Alcohol, Tobacco, Firearms, and Explosives

49. Detective Scott Mullens
    Kansas City, Missouri Police Department

50. U.S. v. Ginnings, et al. Cooperating Defendant #13, PN
    Contact through the United States Attorney’s Office

51. Robert A. Ontman
    811 Elmwood Avenue
    Kansas City, Missouri 64123

52. U.S. v. Ginnings, et al. Cooperating Defendant #24, CP
    Contact through the United States Attorney’s Office

53. Cooperating Witness O, TP
    Contact through the United States Attorney’s Office

54. Cooperating Witness MM, NP
    Contact through the United States Attorney’s Office

55. Officer Chad Pfaff
    Kansas City, Missouri Police Department

56. Shane Thomas Pierce
    1006 Benjamin Boulevard
    St. James, MO 65559

57. Dr. B. Robert Pietak
    Office of the Jackson County Medical Examiner

58. Cooperating Witness CC, BP
    Contact through the United States Attorney’s Office

59. Trooper Tony Puzzuti
    Missouri State Highway Patrol

60. Cooperating Witness F, DR
    Contact through the United States Attorney’s Office

61. Cooperating Witness E, MR
    Contact through the United States Attorney’s Office




     Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 5 of 8
62. U.S. v. Ginnings, et al. Cooperating Defendant #4, DR
    Contact through the United States Attorney’s Office

63. U.S. v. Ginnings, et al. Cooperating Defendant #14, CR
    Contact through the United States Attorney’s Office

64. Cooperating Witness KK, AR
    Contact through the United States Attorney’s Office

65. Captain Michelle Rogers
    Raytown, Missouri Police Department

66. Officer Thomas Saccardi
    Raytown, Missouri Police Department

67. Myrna Saenz
    Kansas City, MO

68. U.S. v. Ginnings, et al. Cooperating Defendant #6, LS
    Contact through the United States Attorney’s Office

69. Deputy C. Schroer
    Lafayette County, Missouri Sheriff’s Office

70. Raymond Sessions
    106 17th Street
    Greenwood, MO 64034

71. Sergeant Chris Shrout
    Raytown, Missouri Police Department

72. Cooperating Witness EE, DS
    Contact through the United States Attorney’s Office

73. Laura Smith
    2613 Planeview Terrace
    Alton, IL 62002

74. Richard D. Spurlock
    322 Drury Avenue
    Kansas City, MO 64123




     Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 6 of 8
75. Trooper Glenn Suschanke
    Missouri State Highway Patrol

76. Marius C. Tarau
    Deputy Medical Examiner
    Office of the Jackson County Medical Examiner

77. Trooper Fred Taylor
    Missouri State Highway Patrol

78. Shari Ann Taylor
    305 NW 39th Street
    Blue Springs, MO 64015

79. Detective Danny Thomas
    Kansas City, Missouri Police Department

80. U.S. v. Ginnings, et al. Cooperating Defendant #5, ST
    Contact through the United States Attorney’s Office

81. Deputy Nate Tretter
    Lafayette County, Missouri Sheriff’s Department

82. U.S. v. Ginnings, et al. Cooperating Defendant #3, LW
    Contact through the United States Attorney’s Office

83. Detective Logan Waterworth
    Independence, Missouri Police Department

84. U.S. v. Ginnings, et al. Cooperating Defendant #15, AW
    Contact through the United States Attorney’s Office

85. U.S. v. Bailey, et al. Cooperating Defendant #30, HW

86. Officer Michael Watson
    St. James, Missouri Police Department

87. Cooperating Witness A, JW
    Contact through the United States Attorney’s Office

88. U.S. v. Bailey, et al. Cooperating Defendant #19, CW
    Contact through the United States Attorney’s Office

89. U.S. v. Bailey, et al. Cooperating Defendant #27, MW
    Contact through the United States Attorney’s Office




     Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 7 of 8
   90. Cooperating Witness K, SW
       Contact through the United States Attorney’s Office

   91. Trooper Isiah Willis
       Missouri State Highway Patrol

   92. Officer Nick York
       Springfield, Missouri Police Department

   93. U.S. v. Ginnings, et al. Cooperating Defendant #16, MZ
       Contact through the United States Attorney’s Office


                                                    Respectfully submitted,

                                                    Teresa A. Moore
                                                    United States Attorney

                                            By      /s/Bruce Rhoades

                                                    Bruce Rhoades (AR88156)
                                                    Assistant United States Attorney
                                                    Charles Evans Whittaker Courthouse
                                                    400 East Ninth Street, Suite 5510
                                                    Kansas City, Missouri 64106
                                                    Telephone: (816) 426-3122




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on October 31,
2022, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                                    /s/Bruce Rhoades
                                                    Bruce Rhoades
                                                    Assistant United States Attorney




        Case 4:18-cr-00293-DGK Document 724 Filed 10/31/22 Page 8 of 8
